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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
ERIC SWALWELL,                            )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                  Case No. 21-cv-1678 (APM)
                                          )
DONALD J. TRUMP et al.,                   )
                                          )
      Defendants.                         )
_________________________________________ )


                                             ORDER

       For the reasons set forth in the court’s Memorandum Opinion and Order of February 18,

2022, ECF No. 56 [hereinafter Mem. Op.], the court grants Defendant Mo Brooks’s Motion to

Dismiss, ECF No. 57, which Brooks filed at the court’s invitation. Specifically, as the court

concluded with respect to Defendants Giuliani and Trump Jr., Brooks’s alleged speech that forms

the basis for the claims against him is protected expression under the First Amendment. None of

Brooks’s speech, including his remarks delivered at the January 6 Rally, satisfies the Brandenburg

exception. The allegations against Brooks do not support a plausible inference that “he was

advocating . . . any action” or that “his words were intended to produce, and likely to produce,

imminent disorder.” Hess v. Indiana, 414 U.S. 105, 107 (1973) (citation omitted). Additionally,

the court dismisses the section 1985(1) and 1986 claims against Brooks for failure to state a claim,

for the same reasons the court did so against Defendants Giuliani and Trump Jr. See Mem. Op. at

76–78, 79–80.
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       Accordingly, all claims against Mo Brooks are dismissed. Defendant Brooks’s Petition to

Certify Defendant Mo Brooks Was Acting Within the Scope of His Office or Employment, ECF

No. 20, is denied as moot.




Dated: March 9, 2022                                     Amit P. Mehta
                                                  United States District Court Judge




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